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                                                                     July 23, 2018



         Honorable Kimba M. Wood
         United States District Judge
         Daniel Patrick Moynihan Courthouse
         500 Pearl Street, Courtroom 26A
         New York, New York 10007-1312

                  Re:     United States v. Joseph Meli, 1:17-cr-00127-KMW-2

         Dear Judge Wood:

                We represent Joseph Meli in the above-referenced matter. On April 3, 2018, Your Honor
         sentenced Mr. Meli to a custodial term of 78 months, following his conviction for securities
         fraud. The Court ordered Mr. Meli to surrender to the Bureau of Prisons on June 26, 2018.

                As confirmed through the Bureau of Prisons website, Mr. Meli has surrendered to his
         designated facility and has begun serving his sentence. We write now to request an order from
         the Court lifting Mr. Meli’s appearance bond and relieving all suretors of any obligations due
         under the terms of the bond.

                  We are available at your convenience should the Court have any questions.

                                                                     Respectfully,
                                                                     /s/ Jeffrey R. Alexander
                                                                     Jeffrey R. Alexander

         cc:      Elisha Kobre
                  Brendan Quigley
                  Assistant United States Attorneys
                  (Via ECF)
